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 5
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 6 United States of America

 7
                                  IN THE UNITED STATES DISTRICT COURT
 8
                                     EASTERN DISTRICT OF CALIFORNIA
 9

10
     UNITED STATES OF AMERICA,                           CASE NO. 2:15-CR-190 GEB KJN
11
                                   Plaintiff,            STIPULATION AND PROTECTIVE ORDER
12
                             v.
13
     GEORGE B. LARSEN,
14
                                   Defendant.
15

16

17          WHEREAS, the parties desire to prevent the unauthorized disclosure or dissemination of certain
18 sensitive but unclassified discovery materials to anyone not a party to the court proceedings in this

19 matter, or to defendant GEORGE B. LARSEN in this case as provided below;

20          WHEREAS, the sensitive but unclassified discovery materials at issue include information
21 pertaining to victims or potential victims in this case, including personal identifying information,

22 identification documents such as driver’s licenses, social security cards, a birth certificate, and access

23 device numbers such as credit card numbers;

24          WHEREAS, such sensitive but unclassified discovery materials shall be identified as sensitive
25 and subject to a protective order at the time of disclosure, whether on the documents or other materials

26 (e.g., CDs) themselves or in an accompanying cover letter;

27          WHEREAS, the parties agree that entry of a stipulated protective order is appropriate, and that a
28 private agreement is not appropriate in light of the nature of the information at issue and the charges in

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 1 this case; and

 2          WHEREAS, the defendant, GEORGE B. LARSEN, has counsel (“Defense Counsel”) who

 3 wishes the opportunity to review the discovery;

 4          Defendant GEORGE B. LARSEN and plaintiff United States of America, by and through their

 5 undersigned counsel of record, hereby agree and stipulate as follows:

 6          1.      This Court may enter protective orders pursuant to Rule 16(d) of the Federal Rules of

 7 Criminal Procedure, its general supervisory authority, and Local Rule 141.1.

 8          2.      This Order pertains to all discovery provided to or made available to Defense Counsel

 9 that is identified as sensitive and subject to a protective order in this case (hereafter, collectively known

10 as “the protected discovery”).

11          3.      Defense Counsel shall not disclose any of the protected discovery to any person other

12 than the defendant, or attorneys, law clerks, paralegals, secretaries, experts, and investigators, involved

13 in the representation of his client. At no time shall the defendant be permitted to review the protected

14 discovery outside of the presence of his attorney, and Defense Counsel shall not leave any of the

15 protected discovery with defendant at the jail or other institution where that defendant is being held in

16 custody.

17          4.      The protected discovery and information therein may only be used in connection with the

18 litigation of this case and for no other purpose. The protected discovery is now and will forever remain

19 the property of the United States Government. Defense Counsel will return the discovery to the

20 Government or certify that it has been shredded or otherwise destroyed at the conclusion of the case.

21          5.      Defense Counsel will store the discovery in a secure place and will use reasonable care to

22 ensure that it is not disclosed to third persons in violation of this agreement.

23          6.      If Defense Counsel releases custody of any of the protected discovery, or authorized

24 copies thereof, to any person described in paragraph (3), Defense Counsel shall provide such recipients

25 with copies of this Order and advise that person that the protected discovery is the property of the United

26 States Government, that the protected discovery and information therein may only be used in connection

27 with the litigation of this case and for no other purpose, and that an unauthorized use of the protected

28 discovery may constitute a violation of law and/or contempt of court.

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 1         7.      In the event that the defendant obtains substitute counsel, undersigned Defense Counsel

 2 agree to withhold the protected discovery from new counsel unless and until substituted counsel agrees

 3 to be bound by this Order.

 4         8.      Defense Counsel shall be responsible for advising his client, employees, and other

 5 members of the defense team of the contents of this Stipulation/Order.

 6         IT IS SO STIPULATED.

 7 Dated: October 5, 2015                               Respectfully submitted,

 8
                                                        BENJAMIN B. WAGNER
 9                                                      United States Attorney

10                                              By:     /s/ Audrey B, Hemesath
                                                        AUDREY B. HEMESATH
11                                                      Assistant U.S. Attorney

12

13                                              By:     /s/ Dustin Johnson
                                                        DUSTIN JOHNSON
14                                                      Counsel for GEORGE B. LARSEN

15

16                                                 ORDER

17         IT IS SO FOUND AND ORDERED.

18 Dated: October 6, 2015

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